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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

STEVEN GUTTADAURO,                    §
Plaintiff                             §
                                      §     CIVIL ACTION NO.
vs.                                   §
                                      §     Jury Trial Demanded
OLIPHANT FINANCIAL, LLC,              §
Defendant                             §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                             NATURE OF ACTION

       1.    This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”), the Texas Business and Commerce Code, Subchapter

E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors from engaging

in abusive, deceptive, and unfair practices, and the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227.

       2.    Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA, DTPA, and TCPA and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.
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       3.     Service may be made upon Defendant in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, 47 U.S.C. § 227(b)(3) and 28 U.S.C. § 1337.

       5.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                     PARTIES

       6.     Plaintiff, Steven Guttadauro (“Plaintiff”), is a natural person residing

in Harris County.

       7.     Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.     Defendant, Oliphant Financial, LLC (“Defendant”) is an entity who at

all relevant times was engaged, by use of the mails and telephone, in the business

of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5)

and by Tex. Fin. Code Ann. § 392.001(6).
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      9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

and by Tex. Fin. Code Ann. § 392.001(2).

                           FACTUAL ALLEGATIONS

      10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.    Within one (1) year preceding the date of this Complaint, Defendant

made and/or placed a telephone call to Plaintiff’s cellular telephone number, in

effort to collect from Plaintiff an obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendant.
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      14.    Within one (1) year preceding the date of this Complaint, Defendant

willfully and knowingly utilized an automatic telephone dialing system to make

and/or place a telephone call to Plaintiff’s cellular telephone number, in effort to

collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant.

      15.    Defendant telephone Plaintiff’s residence on August 6, 2010, and

disclosed to a third party that Defendant had purchased an alleged debt owed by

Plaintiff. Defendant discussed the alleged debt in detail with such third party,

including disclosing Plaintiff’s social security number and other personal

information, none of which was for the purpose of obtaining location information.

      16.    Defendant continued to contact said third party on August 30, 2010,

and September 3, 2010, despite said third party’s express request that Defendant

not contact him again (15 U.S.C. §§ 1692b(2), 1692b(3), § 1692c(b)).

      17.    Defendant placed a telephone call to Plaintiff’s cellular telephone in

connection with the collection of an alleged debt, and, at such time, Defendant

failed to disclose the identity of the individual calling and further failed to notify

Plaintiff that such communication was from a debt collector.          (15 U.S.C. §§

1692d(6), 1692e(11)).

      18.    Defendant, in connection with the collection of an alleged debt, made

initial contact with Plaintiff via telephone call on August 6, 2010, and at such time,
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did not provide Plaintiff with the disclosures required pursuant to 15 U.S.C.

1692g(a) et seq., pertaining to Plaintiff’s statutory right to dispute the alleged debt,

or any portion thereof, or to seek validation of same within the required statutory

period, nor did Defendant provide Plaintiff with such written disclosures within

five (5) days thereafter (15 U.S.C. § 1692g(a) et seq.).

      19.      Defendant did, in connection with the collection of an alleged debt

from Plaintiff, place non-emergency telephone calls using an automatic telephone

dialing system to Plaintiff’s cell phone, without Plaintiffs prior express consent, for

which Plaintiff was charged for the call (47 U.S.C.§ 227(b)(1)(A)(iii).

      20.      Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result Defendants are liable to Plaintiff for Plaintiff’s

actual damages, statutory damages, and costs and attorney’s fees.

                                 COUNT I--FDCPA

      21.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      22.      Defendant’s aforementioned conduct violated the FDCPA.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the FDCPA;

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;
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       c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

       d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

          this action;

       e) Awarding Plaintiff any pre-judgment and post-judgment interest as

          may be allowed under the law;

       f) Awarding such other and further relief as the Court may deem just and

          proper.

                             COUNT II--TDCPA

 23.      Plaintiff repeats and re-alleges each and every allegation above.

 24.      Defendant violated the Texas Debt Collection Practices Act in one or

 more of the following ways:

       a. Using false representations or deceptive means to collect a debt or

          obtain information concerning a consumer, including (Tex Fin Code §

          392.304(a)(19)).

 WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       a) Adjudging that Defendant violated the TDCPA;

       b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

       c) Awarding Plaintiff actual damages pursuant to the TDCPA;

       d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

          this action;
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            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                 COUNT III—TCPA

      25.      Plaintiff repeats and re-alleges each and every allegation above.

      26.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly utilizing an automatic telephone dialing system to make and/or place a

telephone call to Plaintiff’s cellular telephone number.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

            b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(B), in the amount of $500.00 per violation;

            c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

               227(b)(3)(C), in the amount of $1,500.00 per violation;

            d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;
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            f) Awarding Plaintiff any pre-judgment and post-judgment interest as

              may be allowed under the law.

                                 COUNT IV—DTPA

      27.     Plaintiff reincorporates by reference herein all prior paragraphs above.

      28.     This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      29.     Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      30.     Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.

      31.     Defendant knew or should have known that its representations were

false and/or acted in reckless disregard for the truth or falsity of its representations.

      32.     Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

      33.     Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

      34.     The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory
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damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

         35.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

         36.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.

         WHEREFORE, Plaintiff prays for relief and judgment as follows:

         (a)   a declaratory judgment be entered that Defendant’s conduct violated

         the DTPA;

         (b)   an    award     for      all   actual   damages,   exemplary   damages,

         emotional/mental anguish damages and all statutory additional damages, all

         attorneys fees, costs of court, and pre-judgment and post-judgment interest

         at the highest lawful rates.
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    (c)   an award of discretionary additional damages in an amount not to

    exceed three times the amount of economic damages if Defendant’s conduct

    is found to have been committed knowingly; or an amount not to exceed

    three times the amount of economic and mental anguish damages if

    Defendant’s conduct is found to have been committed intentionally.

    (d)   such other and further relief as may be just and proper.

                              TRIAL BY JURY

    37.   Plaintiff is entitled to and hereby demands a trial by jury.

                                           Respectfully submitted,


                                           By: /s/ Dennis R. Kurz
                                           Dennis R. Kurz
                                           Texas State Bar # 24068183
                                           Southern District Bar No. 1045205
                                           Attorney in Charge for Plaintiff



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                        CERTIFICATE OF SERVICE


I certify that on November 18, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Houston
Division, using the electronic case filing system of the court.


                                                         /s/ Dennis R. Kurz
                                                         Dennis R. Kurz
